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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov

In re:                                                          Chapter 11

Pelican Real Estate, LLC, et al.                                Case No.: 6:16-bk-03817-CCJ

         Debtors.                                               Jointly Administered with:
                                                                Case No.: 6:16-bk-03820;
                                                                Case No.: 6:16-bk-03822:
                                                                Case No.: 6:16-bk-03823;
                                                                Case No.: 6:16-bk-03825;
                                                                Case No.: 6:16-bk-03827;
                                                                Case No.: 6:16-bk-03828;
                                                                Case No.: 6:16-bk-03829; and
                                                                Case No.: 6:16-bk-03830
                                                      /

                          SUPPLEMENTAL CERTIFICATE OF SERVICE

         I CERTIFY that true and correct copies of: (1) Liquidating Trustee’s Motion to Approve

Sale Procedures and Sale and Assignment of Joint Venture Interests in Energy Capital Wilcox J.V.

Free and Clear of Liens, Claims, Encumbrances, and Interests [ECF No. 764]; (2) Order

Conditionally Approving Sale Procedures and Sale Notice, Setting Deadlines to Object and Assert

Claims, and Setting Final Hearing for Sale of Energy Capital Wilcox J.V. Free and Clear of Liens,

Claims, Encumbrances, and Interests [ECF No. 782]; and (3) Liquidating Trustee’s Corrected

Notice of Proposed Sale and Assignment of JV Interests in Energy Capital Wilcox, J.V. [ECF No.

785] have been furnished by certified first class U.S. mail, postage prepaid, on the

Manager/Managing Venturer of the Energy Capital Wilcox JV, Energy Capital Fund, LLC,

Attention: Daniel Smith, President, 15632 Hwy 110 South, Suite 12, Whitehouse, TX 75791, and

each of the Joint Venturers/interest holders of Energy Capital Wilcox JV1, on April 23, 2018.


1
 The Liquidating Trustee is keeping the list of these Joint Venturers confidential in accordance with a Confidentiality
Agreement with Energy Capital Wilcox JV.
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Dated: April 23, 2018                 BROAD AND CASSEL LLP
                                      Counsel for the Liquidating Trustee
                                      100 S.E. 3rd Avenue, Suite 2700
                                      Fort Lauderdale, FL 33394
                                      Tel: (954) 764-7060 Fax: (954) 761-8135


                                      By: /s/ Michael D. Lessne
                                          Michael D. Lessne
                                          Florida Bar No. 73881
                                          mlessne@broadandcassel.com




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